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6                                  UNITED STATES DISTRICT COURT

7                                SOUTHERN DISTRICT OF CALIFORNIA

8
                                                              Case No.: 20-cv-0993-JLS(BLM)
9     EDWARD R. GALLAGHER,

10                                           Plaintiff,       ORDER GRANTING JOINT MOTION
                                                              FOR MODIFICATION OF PROTECTIVE
11    v.                                                      ORDER
12    DAVID PHILIPPS, et al.,
                                                              [ECF No. 70]
13                                        Defendants.
14

15

16         On October 27, 2021, the parties filed a joint motion requesting that the Court incorporate

17   Exhibit A, a form declaration, through which the signatory promises to be bound by the

18   protective order, to the existing Protective Order [ECF No. 54]. ECF No. 70 at 2. In support, the

19   parties state that “[t]his proposed addition was inadvertently omitted from the parties’ Joint

20   Motion for a Protective Order, which references Exhibit A, but did not contain Exhibit A in the

21   version the parties’ [sic] submitted to the Court for Approval.” Id.

22         Good cause appearing, the parties’ motion is GRANTED. The order granting the parties’

23   Joint Motion for Protective Order Regarding Confidential Information [ECF No. 54] is modified

24   to include the attached Exhibit A.

25         IT IS SO ORDERED.

26   Dated: 11/1/2021

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                                                                                      20-cv-0993-JLS(BLM)
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4                                            Exhibit A
5                           UNITED STATES DISTRICT COURT
6                          SOUTHERN DISTRICT OF CALIFORNIA
7
     EDWARD R. GALLAGHER,
8
                            Plaintiff,                   Case No. 20 CV0993 JLS BLM
9
           vs.
10
     DAVID PHILIPPS and CARLOS DEL TORO,
11   in his official capacity as Secretary of the
     Navy,
12
                            Defendants.
13

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15
                   DECLARATION TO BE BOUND BY PROTECTIVE ORDER
16

17    I,                                    , declare under penalty of perjury that:
18

19     (a) My present address is                                                           .
20     (b) My present employer is
21      and the address of my present employer is
22                                                  .

23     (c) My present occupation or job description is

24
                                                    .
       (d) I have received and carefully read the Protective Order in this Litigation dated
25
       November 25, 2020 and modified on _______________________ and understand its
26
       provisions. Specifically, I understand that I am obligated, under order of the Court, to
27
       hold in confidence and not to disclose the contents of anything marked
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                                                                                20-cv-0993-JLS(BLM)
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1      “CONFIDENTIAL,” except as permitted by the Protective Order. I understand that I
2      must abide by all of the provisions of the Protective Order.
3      (e) At the termination of this Litigation or any time requested by Counsel for the Party
4      by whom I am engaged, I will return or destroy all documents and other materials,
5      including notes, computer data, summaries, abstracts, or any other materials containing

6      or reflecting CONFIDENTIAL Discovery Material which have come into my

7
       possession, and will return or destroy all documents or things I have prepared relating
       to or reflecting such information, except to the extent the law otherwise precludes the
8
       return or destruction of any material.
9
       (f) I understand that if I violate the provisions of the Protective Order, I will be in
10
       violation of a Court Order and subject to sanctions or other remedies that may be
11
       imposed by the Court and potentially liable in a civil action for damages by the
12
       Producing Party. I hereby submit to the jurisdiction of this Court for the purpose of
13
       enforcement of the Protective Order in this Litigation. I declare under penalty of
14
       perjury of the laws of the United States that the foregoing is true and correct.
15

16    Signature:
17

18    Date:
19
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                                                                                   20-cv-0993-JLS(BLM)
